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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                   No. 16-cv-0736 RB/SMV
                                                                      No. 09-cr-02968 RB

DANIEL RAMON MUÑOZ,

                Defendant.


                                   ORDER LIFTING STAY

        THIS MATTER is before the Court sua sponte. On July 11, 2016, this Court stayed

proceedings in the present case, pending the ruling of the United States Court of Appeals for the

Tenth Circuit on Defendant Daniel Ramon Muñoz’s Motion for Permission to file a second or

successive habeas petition under 28 U.S.C. § 2255. [CV Doc. 3; CR Doc. 533] On August 1,

2016, the United States Court of Appeals for the Tenth Circuit granted Defendant’s Motion for

Permission. [CV Doc. 4; CR Doc. 536] Because this Court now has authorization to consider

Defendant’s Motion to Correct Sentence Pursuant to 28 U.S.C. § 2255 [CV Doc. 1; CR Doc.

531], the stay will be lifted.

        The Court recognizes that, on August 3, 2016, the United States of America filed a

Motion For Stay Pending the Supreme Court’s Decision in Beckles v. United States.

[CV Doc. 5; CR Doc. 537]. The Court will review the merits of Defendant’s § 2255 motion

under Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States District
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Courts after the disposition of the United States of America’s motion for stay. [CV Doc. 5;

CR Doc. 537].

       IT IS THEREFORE ORDERED that the stay imposed in the Order Staying Case

Pending Tenth Circuit Authorization Pursuant to 28 U.S.C. § 2255(h) [CV Doc. 3; CR Doc. 533]

is LIFTED.



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                                          STEPHAN M. VIDMAR
                                          UNITED STATES MAGISTRATE JUDGE
